                     IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA

                      CIVIL ACTION NO. 1:18-CV-00133-WO-LPA

 DOROTHEA ROBINSON,                          )
                                             )
               Plaintiff,                    )
                                             )
 vs.                                         )
                                                    JOINT RULE 26(f) REPORT AND
                                             )
                                                         DISCOVERY PLAN
 THE PROCTER & GAMBLE                        )
 MANUFACTURING COMPANY                       )
 (“P&G”) and CANDY WRIGHT,                   )
                                             )
               Defendants.                   )

      1. Pursuant to Fed. R. Civ. P. 26(f) and L.R. 16.1(b), a meeting was held by telephone
on April 8, 2019 and was attended by Angela Newell Gray, counsel for Plaintiff Dorothea
Robinson (“Plaintiff”), and M. Robin Davis and Caitlin M. Goforth, counsel for Defendants
The Procter & Gamble Manufacturing Company and Candy Wright (collectively referred to
as “Defendants”).

       2.     Discovery Plan: The parties propose to the Court the following Discovery
              Plan:

              (a)     Initial Disclosures: The information required by Fed. R. Civ. P.
                      26(a)(1) will be exchanged by the parties by May 24, 2019,
                      supplementations under Rule 26(e) are due as required by Rule 26(e).

              (b)     Scope of Discovery: Discovery will be needed on the following
                      subjects: (1) Plaintiff’s allegations as set forth in the Amended Complaint;
                      (2) the alleged damages sought by Plaintiff and any efforts to mitigate
                      those damages, including efforts to obtain other employment; (3) all
                      other issues raised by the pleadings; (4) any expert disclosures; (5)
                      Defendants’ affirmative defenses; and (6) all other matters that will
                      reasonably lead to the discovery of admissible evidence.

              (c)     Case Management Track: Discovery shall be placed on a case-
                      management track established in LR 26.1. The Parties propose the
                      appropriate plan for this case is that designated in LR 26.1(a) as
                      Complex.




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     (d)   Deadline to Complete Discovery: The parties have considered their
           separate commitments and the relevant holidays and agree that the date
           for the completion of all fact discovery is October 15, 2019. All expert
           discovery will be completed by November 15, 2019.

     (e)   Discovery Limits: The parties propose the following discovery limits:

           (1)    Each party shall be limited to 25 interrogatories (including
                  subparts), 25 requests for production of documents (including
                  subparts), and 25 requests for admissions.

           (2)    Plaintiff shall have five (5) fact witness depositions and
                  Defendants collectively shall have five (5) fact witness
                  depositions. In addition to the depositions of fact witnesses, each
                  Party shall be permitted to depose any expert designated by the
                  other Party. All depositions, with the exception of any
                  depositions of named Parties, shall be limited to one (1) day of
                  seven (7) hours of testimony, unless extended by agreement of
                  the parties or by a Court Order. The Parties agree that any
                  depositions of named Parties shall be limited to ten (10) hours of
                  testimony.

     (f)   Expert Reports: The parties propose that the reports required by Rule
           26(a)(2)(B) and disclosures required by Rule 26(a)(2)(C) are due during
           the discovery period as follows:

           (1)    From Plaintiff by August 15, 2019.
           (2)    From Defendants by September 1, 2019.
           (3)    Counter designations of rebuttal experts (to the extent necessary)
                  are due within thirty (30) days of receiving another Party’s expert
                  designation.
           (4)    Plaintiff and Defendants shall each make retained expert
                  witnesses available for deposition as soon as possible after
                  submission of the expert’s report.

3.   Mediation: Mediation shall be conducted by September 31, 2019. The parties
     agree that the mediator shall be Ann Anderson.

4.   Preliminary Deposition Schedule: Counsel for the parties will confer and
     attempt to schedule depositions on mutually agreeable dates during the
     discovery period.


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5.   Other Items:

     (a)     Plaintiff shall be allowed until May 15, 2019, to join additional parties
     and/or to amend the pleadings. Defendants shall be allowed until May 29,
     2019, to join additional parties and/or to amend the pleadings. After these
     dates, the Court will consider, inter alia, whether the gaining of leave would
     delay trial.


     (b)    The parties have discussed the special procedures for managing this case,
            including reference of the case to a magistrate judge on consent of the
            parties. The parties do not consent to Magistrate Judge jurisdiction.

     (c)    The parties do not request a conference with the court before entry of
            this scheduling order.

     (d)    Trial Date: A jury trial has been demanded. If the case is ultimately
            tried, trial is expected to take approximately four (4) days. This case
            should be ready for trial by the later of May 4, 2020, or 90 days after the
            Court rules on any dispositive motions.

     (e)    Dispositive Motions: All potentially dispositive motions should be
            filed by the moving party by December 16, 2019, or within thirty (30)
            days following the end of the discovery period, whichever is later. The
            Parties agree to extend the time for responses to any dispositive motions
            to January 31, 2020, or forty-five (45) days after the filing of any
            dispositive motions, whichever is later, due to Plaintiff’s counsel’s out of
            the country travel during the holidays.

     (f)    Witness Lists / Exhibits: Witness Lists / Exhibits: Final lists of
            witnesses and exhibits under Rule 26(a) (3) are due from Plaintiff by 45
            days before trial and from Defendants by 30 days before trial.

     (g)    Pretrial Conference: Defendants request that a pretrial conference be
            held 30 days prior to the trial date.

     (h)    Motions in Limine: Unless otherwise ordered by the Court, the parties
            propose that all motions in limine shall be filed no later than fourteen
            (14) days prior to the pretrial conference.

     (i)    Confidential Information: The parties have discussed certain issues
            relating to the disclosure of documents and information, which may be
            confidential information, and anticipate filing a mutually agreeable
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           protective order pursuant to Fed. R. Civ. P. 26(c). The parties propose
           that they reserve the right to move for a protective order with regard to
           any subject of discovery, including but not limited to the subjects listed
           above.

6.   Electronically Stored Information: The parties have discussed that this
     lawsuit could involve the discovery of electronically stored information and
     report to the Court the following:

     (a)   At this point the parties are unaware of the full extent of relevant
           information that may be stored electronically but do not presently
           anticipate extensive discovery of electronically stored information. The
           parties have identified the following potential sources of electronically
           stored evidence that may be relevant to the claim(s) or defense(s) at issue:

           1. Electronic mail (including all electronic attachments) sent to and/or
              from parties relating to the incidents set forth in the Amended
              Complaint;

           2. Any electronically stored information including but not limited to
              text messages, photographs, instant messaging, and social
              networking communications, relating or pertaining to the facts
              alleged in the Amended Complaint;

           3. Documents and other records stored by Plaintiff on her personal
              computer, phone, PDA or other devices relating to the facts alleged
              in the Amended Complaint; and

           4. Any other electronically stored information that becomes evident or
              known during the discovery period which would fall within the scope
              of Fed. R. Civ. P. 26 for discovery purposes, provided it is relevant
              and proportional to the needs of this case.

     (b)   Identification and Retention: The parties agree that they will
           undertake a good faith effort to identify relevant electronically stored
           information and will preserve any such information identified, provided
           that Defendants will not be required to deviate from the record retention
           requirements mandated by state and federal law (and/or its normal
           records retention policies to the extent any retention policy differs from
           state or federal regulations/guidelines) with respect to electronically
           stored information or other records which have not been previously
           specifically identified by the parties as relevant to this action.

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     (c)   Format: Discoverable electronically stored information will be
           produced in either PDF format or in native format unless otherwise
           agreed that another format would best facilitate production and lower
           costs related to the production and review of the documents.

     (d)   Metadata: Because the majority of metadata is unusable and of little
           value and the time required to review the metadata makes its production
           cost-prohibitive, the parties will only produce metadata upon specific
           request related to specifically enumerated documents after review of the
           documents/copies initially produced. To the extent requested, metadata
           will be initially limited to metadata that is visible to the user. Parties may
           request the production of additional metadata not visible to the user
           upon determination of the need for and relevance of such data. Under
           such circumstances, the parties will negotiate in good faith with regard
           to whether the production of such metadata is reasonably required and,
           if so, who should bear the cost, with the Court to resolve such disputes
           if agreement cannot be reached.

     (e)   Cost Allocation: If the electronically stored information sought is not
           readily obtainable or its production would be unduly burdensome, the
           parties agree that either party seeking discovery of the information may
           request that the Court enter an order allowing discovery of such
           information at the expense of the party seeking the discovery.

     (c)   Inadvertent production of privileged materials (“clawback
           agreement”) confidentiality concerns: The parties have discussed certain
           issues related to claims of privilege and protection of trial-preparation
           material and have agreed upon a procedure to assert such claims after an
           inadvertent production of privileged or trial-preparation materials. The
           parties agree that an inadvertent disclosure of privileged or trial-
           preparation materials (absent a clear indication of the intent to waive
           such privilege or protection), including but not limited to metadata and
           other such information, shall not be deemed a waiver or forfeiture of
           such privilege or protection provided that the party making the
           production or disclosure promptly identifies any such documents
           and/or metadata mistakenly produced after discovery of the inadvertent
           production. The parties further agree that, upon request, any such
           mistakenly-produced documents/metadata shall be returned. In the
           event of a dispute over use of any privileged materials, the receiving party
           must sequester or destroy all copies, and may not use or disseminate the
           information contained therein until such time as the dispute over the
           claim of privilege is resolved by the Court.

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     This the 12th day of April, 2019.

GRAY NEWELL THOMAS, LLP                      JACKSON LEWIS P.C.

/s/ Angela Newell Gray                       /s/ Caitlin M. Goforth
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 DOROTHEA ROBINSON,                                )
                                                   )
                       Plaintiff,                  )
                                                   )
 vs.                                               )
                                                                   CERTIFICATE OF
                                                   )
                                                                      SERVICE
 THE PROCTER & GAMBLE                              )
 MANUFACTURING COMPANY                             )
 (“P&G”) and CANDY WRIGHT,                         )
                                                   )
                       Defendants.                 )

      The undersigned certifies that on April 12, 2019, the foregoing Joint Rule 26(f) Report
and Discovery Plan was electronically filed with the Clerk of the Court, using the Court’s
CM/ECF electronic service system which will serve a copy on all counsel of record as follows:

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